Case 5:02-cr-30020-MFU-RSB Document 1527 Filed 05/20/20 Page 1 of 1 Pageid#: 4356
                                                                               CLERK'S OFFICE U.S.DIST. COURT
                                                                                      AT ROANOKE, VA
                                                                                          FILED
                                                                                         5/20/2020
                                                                                   JULIA C. DUDLEY, CLERK
                              Supplem entplBriefin Supportof2255                 BY: S. Taylor
                                                                                       DEPUTY CLERK

                                 DocketorCase No:5:02-CR-30020

        United RatesDistrictCourtfortheW esternDistrictofVirginia(Harrisonburg
                                      Division)
                               Subm itted this 14'hday ofM ay 2020


            Khary Ancrum Reg# 41746-083,respectfully opposed the United States's W ednesday
      May 13,2020 M otionforExtensionofTime.Dueto the severity ofCOVlD-19,IIasking the
  -
      courtstodenythegovernmentsrequestfora30dayextensionandorderthem to respondbf'''-
      M ay21,2020.Notonly ismy Iife injeopardyduetothe close proximitywith nearly 1,000other
      m en,there are also hundredsofofficersgoing in and out ofthe institution,som e w ith PPE and
      som e w ithout,in w hich puts m e in dangerdue to som eone else's negligence.lam nota Iaw yer,
      however,Isee nothing com plexaboutM issLorish'sadm ittance thatshewasineFective ina
      sw orn affidavitw ith case Iogsto prove hershor'tcom ings.
          W ith aIldue respectand appreciationforw hathasalready beendone,Iam asking the
   Honorable ChiefJudge M ichaelF.Urbanski,this isyou do notagree w ith m y pro se m otion to
   vacate,can you please find itw ithin the Iaw to sentance m e to hom e confinem entforthe
      remainderofmysentenceand/orRRCinorderto haveahealthytransitionto beassafeas
      possibleduringthispandemicwhilepayingmydebttosociety.AswejustwatchedPaul
      M anafortget released afterserving only 9 m onthsofa 7.5 yearsentencè,com e July 2020 itw ill
      be 17 yearsform e.
             Respectfully subm itted,this 14thday ofM ay 2020
                                                        Khary Jam alAncrum Reg/f41746-083
                                                        FCC Floreqce
                                                        PO Box 6000
                                                        Florence,CO 81226
